        Case 2:16-cv-01802-SB Document 53 Filed 09/04/20 Page 1 of 22


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 8                             UNITED STATES DISTRICT COURT
 9                            EASTERN DISTRICT OF CALIFORNIA

10                                   SACRAMENTO DIVISION

11 ALEXIA HERRERA, individually and on                  Case No. 2:16-CV-01802-SB
   behalf of all others similarly situated,
12                                                      CLASS ACTION
                           Plaintiff,
13                                                      SECOND AMENDED COMPLAINT
14 v.                                                   1) Failure to Pay Reporting Time Pay (8 CCR
                                                           § 11070(5); Labor Code § 558) (On Call
15 ZUMIEZ, INC., and DOES 1 through 10,                    Shifts);
   inclusive,                                           2) Failure to Pay Minimum Wage (Labor Code
16                                                         §§ 1182.11, 1182.12, 1194, 1194.2, 1197,
                                                           Wage Order);
17                        Defendants.                   3) Failure to Maintain Required Business
                                                           Records (Labor Code §§ 1174, 1174.5;
18                                                         Wage Order);
                                                        4) Failure to Provide Accurate Itemized Wage
19                                                         Statements (Labor Code §§ 226, 226.3;
                                                           Wage Order);
20                                                      5) Failure to Pay All Wages Earned at
                                                           Termination (Labor Code §§200-203);
21                                                      6) Failure to Reimburse Business Expenses
                                                           (Labor Code § 2802);
22                                                      7) Unlawful Business Practices (Bus. & Prof
                                                           Code §§ 17200, et seq.);
23                                                      8) Unfair Business Practices (Bus. & Prof
                                                           Code §§ 17200, et seq.);
24                                                      9) Civil Penalties Under The Private Attorneys
                                                           General Act (Labor Code §§ 2698, et seq.)
25
                                                        DEMAND FOR JURY TRIAL
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27

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                                 SECOND AMENDED COMPLAINT
       Case 2:16-cv-01802-SB Document 53 Filed 09/04/20 Page 2 of 22


 1

 2                                  PRELIMINARY STATEMENT
 3          COMES NOW, Plaintiff Alexia Herrera (“Plaintiff”), individually and on behalf of all
 4   others similarly situated, complains and alleges against Zumiez, Inc. (“Defendant”) the
 5   following:
 6          1.      Plaintiff brings this proposed class action on behalf of herself and all similarly
 7   situated individuals, pursuant to Federal Rule of Civil Procedure 23, against Defendant for
 8   damages suffered as a result of Defendant’s unlawful and unfair employment practices.
 9          2.      Plaintiff and putative class members were or are employed by Defendant, and
10   were denied minimum wage and reporting time compensation as required by governing wage
11   orders and California law. Moreover, for those employees who no longer work for Defendant,
12   Defendant failed to timely pay those employees all compensation due and owing upon
13   termination or resignation. All of these claims result in additional derivative violations of the
14   California Labor Code. Furthermore, Defendant’s scheduling policies, practices and procedures
15   are unlawful and unfair under California’s Unfair Competition Law (the “UCL”).
16          3.      As a result of Defendant’s unlawful and unfair employment practices, Plaintiff
17   seeks monetary and injunctive relief for themselves and the putative class.
18                                              PARTIES
19          4.      At all relevant times herein, Plaintiff Alexia Herrera was and is a resident and
20 citizen of the State of California. From approximately August of 2014 to March of 2015,

21 Plaintiff Herrera worked as a Sales Associate at a Zumiez retail store located in Chico,

22 California.

23          5.      Defendant Zumiez, Inc., is a corporation duly organized and existing under the
24 laws of the State of Washington, with its principal place of business in Everett, Washington.

25          6.      Defendant suffered or permitted Plaintiff to work and/or exercised control over
26 the wages, hours, or working conditions of Plaintiff and the proposed class members, as alleged

27 herein. Defendant drafted and implemented the written policies and procedures applicable in

28 each retail store described herein, including those policies concerning Call-In scheduling
                                                      2
                                  SECOND AMENDED COMPLAINT
       Case 2:16-cv-01802-SB Document 53 Filed 09/04/20 Page 3 of 22


 1   policies.
 2             7.    Plaintiff does not know the true names or capacities, whether individual, partner,
 3   or corporate, of the defendants sued herein as DOE defendants and for that reason, said
 4   defendants are sued under such fictitious names, and Plaintiff prays for leave to amend this
 5   complaint when the true names and capacities are known. Plaintiff is informed and believes, and
 6   based thereon allege, that each fictitious defendant is responsible in some way for the matters
 7   alleged herein and proximately caused and/or contributed the injuries referenced herein.
 8                                    JURISDICTION AND VENUE
 9             8.    The United States District Court for the Eastern District of California, Sacramento
10   Division, has jurisdiction over the claims alleged herein, which involve the laws and regulations
11   of the State of California, including alleged violations of the California Labor Code, California
12   Business and Professions Code, and Title 8 of the California Code of Regulations, under the
13   Class Action Fairness Act. Specifically, there is minimal diversity between the parties, and
14   Plaintiff’s claims, on behalf of the putative class, exceed $5,000,000.00 in the aggregate.
15             9.    Venue is proper in this Court because Defendant regularly conducts business in
16   Placer County, and the conduct alleged herein occurred within Placer County.
17                    FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS
18             10.   Defendant has established and maintained two scheduling policies that operate in
19 a functionally identical manner. Both scheduling practices apply to Plaintiff and the putative

20   class in the same manner. First, Defendant utilizes a traditional form of "Show-Up" scheduling,
21   whereby Defendant's employees are scheduled to work, required to report for a scheduled work
22   shift, and report for the scheduled work shift by physically showing up at one of Defendant's
23   stores.
24             11.   Defendant has also established a “Call-In” scheduling policy. Call-In shifts are
25   scheduled on days where an employee is not scheduled to work a Show-up shift, or are
26   scheduled immediately after a Show-Up shift. Like Show-Up scheduling, Defendant's Call-In
27   scheduling policy is mandatory, and requires employees to be available to work a scheduled
28   shift.
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                                   SECOND AMENDED COMPLAINT
       Case 2:16-cv-01802-SB Document 53 Filed 09/04/20 Page 4 of 22


 1          12.     When an employee is scheduled for a Call-In shift on days when the employee is
 2   not scheduled for a Show-Up shift, Defendant's employees are required to "call-in" from their
 3   own phones and report for work between thirty minutes and one hour before the start of the
 4   scheduled shift. In making this required phone call, employees must wait for a manager to make
 5   a determination as to whether the employee must physically show up, and completing the phone
 6   call takes anywhere from five to fifteen minutes.
 7          13.     During Call-In shifts, it is necessary for the employee to call in and report to work
 8   using his or her own phone. Defendant does not provide phones for these calls. Additionally, an
 9   employee incurs the costs of the phone used to make these calls. Plaintiff did in fact regularly
10   utilize her personal cellphone to make these calls, incurred various associated charges such as
11   cost of the cellphone device along with data/service plan fees, and was not reimbursed by
12   Defendant for these expenses, or any portion thereof.
13          14.     When an employee is scheduled for a Call-In shift immediately after a Show-Up
14   shift, the employee must wait until the end of the Show-Up shift to ask their manager if they will
15   be permitted to work the Call-In shift. When employees report for these Call-In shifts, they do
16   so immediately before, or at the beginning of, the scheduled Call-In shift.
17          15.     Call-In shifts are mandatory, and Defendant treats Call-In shifts – both in terms of
18   mandated employee availability and discipline – the same as Show-Up shifts. However, while
19   employees must treat all Call-In shifts as mandatory, Defendant frequently does not allow
20   employees to work a scheduled Call-In shift, thereby depriving the employee of the opportunity
21   to earn wages for the time they have made available to Defendant. Indeed, even though Plaintiff
22   was scheduled to work Call-In shifts three to four times per week, Plaintiff was permitted to
23   work, at most, half of these shifts.
24          16.     Regardless of how many days and hours employees are in fact permitted to work,
25   employees are required to mold their lives around the possibility that they will work each and
26   every Call-In shift.
27          17.     Call-In shifts impose the same restrictions on an employee's personal autonomy as
28   Show-Up shifts. Employees are required to tailor their lives around mandatory Call-In shifts in
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                                    SECOND AMENDED COMPLAINT
       Case 2:16-cv-01802-SB Document 53 Filed 09/04/20 Page 5 of 22


 1   the same manner as a Show-Up shift. Employees must make preparations for Call-In shifts that
 2   are indistinguishable from the preparations required to report for a Show-Up shift. As a result,
 3   compliance with Defendants' Call-In policy imposes a global restriction on the employees' ability
 4   to plan to use time in which they are scheduled to work for any other purpose, without
 5   compensation.
 6          18.      For example, employees must arrange child and elder care as though they will be
 7   working each and every Call-In shift. Employees cannot schedule shifts with other employers
 8   when scheduled for Call-In shifts. Employees cannot plan to attend college courses, schedule
 9   doctor’s appointments, or make plans with friends and family when scheduled for Call-In shifts.
10   Such a scheduling practice also makes it nearly impossible for employees to navigate eligibility
11   requirements for government benefits such as health insurance, child care subsidies, food stamps
12   and housing assistance – all of which are typically based on income, and in the case of child care,
13   hours worked per week.
14          19.      Unless employees are permitted to work a Call-In shift, Defendant does not
15   compensate its employees for complying with the Call-In scheduling policy. Employees are not
16   compensated for the time they were required to make available to Defendant, and Defendant
17   does not compensate employees for the time it takes to complete the Call-In inquiry.
18          20.      Defendant’s failure to compensate its employees for complying with the Call-In
19   policy is unlawful in several respects. When employees “call in” to report for work, they are
20   doing so under Defendant’s control. This control requires employees engage in a specified
21   activity at a specified time, and prevents the employee from choosing how he or she will spend
22   that time. Because employees are not permitted to effectively use their time for their own
23   purposes when making the call-in inquiry, under California law, they are entitled to wages.
24          21.      The Call-In policy also results in widespread reporting time violations under
25   Section 5 of Industrial Welfare Commission Wage Order 7-2001, 8 CCR § 11070(5) (“Section
26   5”). Section 5(A) provides that “[e]ach workday an employee is required to report for work and
27   does report, but is not put to work or is furnished less than half said employee’s usual or
28   scheduled day’s work, the employee shall be paid for half the usual or scheduled day’s work . . .
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                                   SECOND AMENDED COMPLAINT
       Case 2:16-cv-01802-SB Document 53 Filed 09/04/20 Page 6 of 22


 1   .” 8 CCR § 11070(5) (emphasis added).
 2          22.      For Call-In shifts scheduled on days when no Show-Up shift is scheduled,
 3   employees report for work by calling their manager one hour before the shift is scheduled to
 4   begin. When employees make this call-in inquiry, they are doing so pursuant to mandatory
 5   policy, and are presenting themselves as ready, willing, and able to work the scheduled shift.
 6          23.     For Call-In shifts scheduled on days when no Show-Up shift is scheduled,
 7   employees also report for work using their own cell phones, incurring costs from their own cell
 8   phone providers, and not receiving any compensation for the use of their phones from Defendant.
 9          24.     For Call-In shifts scheduled immediately after a Show-Up shift, employees are
10   already physically present at the store, and they report for work by presenting themselves to their
11   manager as ready, willing, and able to work the Call-In shift immediately before the Call-In shift
12   is scheduled to begin.
13                                       CLASS ALLEGATIONS
14          25.     Plaintiff seeks to represent a class (hereinafter “Class”) of similarly situated
15 individuals, defined as follows:

16          All individuals employed by Zumiez, Inc., retail stores in the State of California
17          during the Class Period who were classified as “non-exempt” from overtime pay.
18   Additionally, Plaintiff seeks to represent a subclass consisting of:
19          All members of the foregoing Class whose employment with Defendant
20          terminated during the Class Period.
21   (hereinafter referred to as the “Separated Employee Subclass”)
22          As used herein, the term “Class Period” means the time frame commencing four years
23   prior to the date the original complaint in this action was filed and continuing until the time that
24   judgment is entered in this case.
25          Excluded from the Class are Defendant, its owners, directors, officers, executives, and all
26   management personnel whose responsibility it was to maintain and/or enforce the policies,
27   procedures, customs and/or business practices complained of herein.
28          26.     Numerosity:       The members of the Class are so numerous that joinder of all
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                                   SECOND AMENDED COMPLAINT
       Case 2:16-cv-01802-SB Document 53 Filed 09/04/20 Page 7 of 22


 1   members would be impractical, if not impossible. On information and belief, Plaintiff alleges the
 2   proposed class numbers in the thousands.
 3          27.      Ascertainability:     The identities of the members of the Class are readily
 4   ascertainable by review of Defendant’s records, including, but not limited to, payroll records,
 5   timekeeping records, schedules, and other documents and other business records that Defendants
 6   are required by law to maintain.
 7          28.      Commonality/Predominance: There are predominant common questions of law
 8   and fact and a coherent community of interest between Plaintiff and the claims of the Class,
 9   concerning Defendant’s treatment of them, including, but not limited to:
10                a. Whether Defendant lacked a written policy regarding the Reporting Time Pay
11                   required under the applicable Wage Order;
12                b. Whether Defendant maintained a custom and business practice of failing to pay
13                   Reporting Time Pay;
14                c. Whether Defendant failed to pay premium wages required by the Wage Order’s
15                   Reporting Time Pay regulations;
16                d. Whether Defendant failed to record all time worked by class members;
17                e. Whether Defendant failed to pay for all time worked by class members;
18                f. Whether Defendant failed to pay all earned wages at the time of termination of
19                   employment of those included in the Separated Employee Subclass;
20                g. Whether Defendant failed to reimburse for all necessary expenditure or losses
21                   incurred in discharging duties by all class members;
22                h. Whether Defendant failed to provide class members with accurate itemized pay
23                   statements;
24                i. Whether the Defendant’s actions, as alleged herein, were unlawful and constitute
25                   unfair and/or unlawful business practices;
26          29.      Typicality: Plaintiff’s claims are typical of the claims of all members of the
27   Class. Plaintiff, herself, has suffered and been damaged by the violations of the Labor Code,
28   Wage Order, and Bus. & Prof. Code alleged herein.
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                                   SECOND AMENDED COMPLAINT
       Case 2:16-cv-01802-SB Document 53 Filed 09/04/20 Page 8 of 22


 1          30.     Adequacy of Representation: Plaintiff is fully prepared to take all necessary
 2   steps to represent, fairly and adequately, the interests of the above-defined Class. Plaintiff’s
 3   attorneys are ready, willing, and able to fully and adequately represent the Class and individual
 4   Plaintiff. Plaintiff’s attorneys have prosecuted and settled wage-and-hour class actions in the
 5   past and currently have a number of wage-and-hour class actions pending in the California state
 6   and federal courts, as well as elsewhere in the United States.
 7          31.     Superiority: A class action is the superior means of litigating the Class’ claims.
 8   The claims set forth herein are based on Defendant’s systemic treatment of the Class members
 9   and, as such, the same body of evidence necessary to prove one claim would be accessed to
10   prove each Class member’s claim. Proof of Defendant’s wrongdoing may be shown by a
11   common body of evidence. It is preferable, from an efficiency and case management standpoint,
12   that the claims of all of the Class members be litigated as a single litigation, rather than as
13   thousands of individual claims.
14                                      FIRST CAUSE OF ACTION
15                     FOR FAILURE TO PAY REPORTING TIME PAY FOR
16                                           (CALL-IN SHIFTS)
17                                (8 CCR § 11070(5); Labor Code § 558)
18          32.     Plaintiff hereby incorporates by reference the preceding paragraphs of this
19   complaint as though set forth in full at this point.
20          33.     The applicable Wage Order requires that on each workday that an employee
21 reports for work, as scheduled, but is not put to work or is furnished less than half of the

22 employee’s usual or scheduled day’s work, the employee shall be paid for half the usual or

23 scheduled day’s work, but in no event for less than two (2) hours nor more than four (4) hours, at

24 the employee’s regular rate of pay, which shall not be less than the minimum wage. The

25 applicable Wage Order denominates this as “Reporting Time Pay.”

26          34.     For Call-In shifts, Defendant’s employees are scheduled to work, required to
27 report for work, and do, in fact, report for work when scheduled. This occurs in one of two ways.

28 First, when employees are scheduled for a Call-In shift on days when the employee is not
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                                    SECOND AMENDED COMPLAINT
       Case 2:16-cv-01802-SB Document 53 Filed 09/04/20 Page 9 of 22


 1   scheduled for a Show-Up shift, the employee reports for work by calling their manager one hour
 2   before the start of the shift to determine if they will be permitted to work the shift. Second, when
 3   Call-In shifts are scheduled immediately after a Show-Up shift, employees who are already
 4   present at the store report for work by waiting until the beginning of the Call-In shift to inquire
 5   with their manger if they will be permitted to work the Call-In shift.
 6          35.     Like show-up shifts, call-in shifts are mandatory and employees must tailor their
 7 lives around the call-in schedule. Employees are operating under Defendant’s control when

 8 making the Call-In inquiry. Employees must be available to work a call-in shift, or face

 9 discipline. Indeed, employees are instructed to treat Call-In shifts the same as Show-Up shifts.

10          36.     As a uniform practice, Defendant does not compensate its employees in any
11 manner when they report for a Call-In shift, but are not permitted to work the shift.

12          37.      Repeatedly over the course of their employment, on dates and occasions known
13 better to Defendant and as will be reflected in Defendant’s business records, Plaintiff (and, on

14 information and belief, the proposed class members) has reported for work at their scheduled

15   start time, as required by Defendant, but has not been put to work or were furnished work for less
16   than half of their scheduled shifts.
17          38.     Defendant’s failure to pay Plaintiff and proposed Class members pursuant to the
18   Wage Order is unlawful.
19          39.     Plaintiff and the proposed Class members are entitled to recover the premium
20   wages prescribed by the Wage Order (for each scheduled or regular shift where they reported for
21   work, as required, but were not permitted to work or for which they worked less than half of the
22   regular or scheduled shift) in an amount of no less than two hours, nor greater than four,
23   whichever is greater, for each such occurrence, for each member of the Class.
24          40.     In addition to the recovery of the premium wages under the Wage Order, Plaintiff
25   and the proposed Class members are entitled to recover a civil penalty under Labor Code section
26   558, against the Defendants, for their violation of the Wage Order, in an amount equal to $50 for
27   the first such violation and $100 for each subsequent violation, for each employee suffering the
28   violation.
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                                    SECOND AMENDED COMPLAINT
      Case 2:16-cv-01802-SB Document 53 Filed 09/04/20 Page 10 of 22


 1   ///
 2                                      SECOND CAUSE OF ACTION
 3                                      Failure to Pay Minimum Wage
 4                 (Cal. Lab. Code §§ 1182.11, 1182.12, 1194, 1194.2, 1197; Wage Order)
 5           41.      Plaintiff repeats and realleges by reference the allegations set forth above, as
 6   though set forth herein in full.
 7           42.      Defendant failed to pay at least the minimum wage to Plaintiff and other members
 8   of the class, in violation of California Labor Code sections 1182.11, 1182.12, 1194, and 1197, as
 9 well as the applicable Wage Order (8 CCR § 11070(4)).

10           43.      Under California law, “hours worked” is defined as “the time during which an
11 employee is subject to the control of an employer, and includes all the time the employee is

12 suffered or permitted to work, whether or not required to do so.”

13           44.      Pursuant to Defendant's Call-in Scheduling Policy, Plaintiff reports for work by
14 calling Defendant one hour before the scheduled start of her shift. This process universally

15 requires Plaintiff and other calling employees be placed on hold while a manager determines if

16 the employee should physically show up for a scheduled shift. Plaintiff, and on information and

17 belief, the putative class members, expends anywhere from five to fifteen minutes to complete

18 the call and determine if they should physically show up for the scheduled shift.

19           45.      When Plaintiff and putative class members make this call to determine if they
20 should physically show up for a scheduled shift, they are doing so pursuant to Defendant's

21 mandatory employment policies, and these employees are subject to Defendant's control when

22 they make this call. Plaintiff and the putative class members are not compensated with any wages

23 for the time in which they are required to make this call and determine whether they should

24 physically show up for a scheduled shift.

25           46.      Accordingly, Defendant was required to compensate Plaintiff with at least the
26 minimum wage for all hours worked. Defendant failed to do so, and pursuant to California Labor

27 Code section 1194(a), Plaintiff and all similarly affected employees are now entitled to recover

28 “the unpaid balance of the full amount of this minimum wage or overtime compensation,
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                                    SECOND AMENDED COMPLAINT
      Case 2:16-cv-01802-SB Document 53 Filed 09/04/20 Page 11 of 22


 1   including interest thereon, reasonable attorney's fees, and costs of suit.”
 2           47.     Pursuant to California Labor Code section 1194.2(a), Plaintiff and all similarly
 3   affected employees are now “entitled to recover liquidated damages in an amount equal to the
 4   wages unlawfully unpaid and interest thereon.”
 5                                      THIRD CAUSE OF ACTION
 6                            FAILURE TO KEEP REQUIRED RECORDS
 7                              (Labor Code §§ 1174, et seq.; Wage Order)
 8           48.     Plaintiff repeats and realleges by reference the allegations set forth above, as
 9   though set forth herein in full.
10           49.     The Labor Code and applicable Wage Order require employers to keep certain
11   accurate business records, including each employee’s daily hours worked (when each employee
12   began and ended each work period, the start and end of meal periods, total daily hours worked,
13   total hours worked in the pay period). In addition, the employer is required to accurately record
14   and report the information required to be provided with each pay check, pursuant to Labor Code
15   section 226, including all applicable rates of pay and the number of hours worked at each
16   applicable rate.
17           50.     Any employer who fails to maintain such records or to accurately maintain such
18   records is subject to a civil penalty, under Labor Code section 1174.5 and under the Wage Order.
19           51.     Plaintiff alleges that Defendant failed to keep accurate payroll and timekeeping
20   records, as required by law. Specifically, Plaintiff alleges that Defendant failed to keep accurate
21   records of all time worked, including time spent completing the call-in inquiry and the rates and
22   premium wages due to them as Reporting Time Pay.
23           52.     Plaintiff and putative class members are entitled to the civil penalties imposed by
24   the Labor Code and the applicable Wage Order.
25                                      FOURTH CAUSE OF ACTION
26                  FAILURE TO PROVIDE ACCURATE WAGE STATEMENTS
27                               (Labor Code §§ 226, 226.3; Wage Order)
28           53.     Plaintiff repeats and realleges by reference the allegations set forth above, as
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                                    SECOND AMENDED COMPLAINT
      Case 2:16-cv-01802-SB Document 53 Filed 09/04/20 Page 12 of 22


 1   though set forth herein in full.
 2           54.     Pursuant to the Labor Code and the Wage Order, every employer must provide
 3   accurate itemized wage statements at the time employees are paid, showing accurate figures for,
 4   inter alia, gross wages earned, total hours worked, net wages earned, and all applicable hourly
 5   rates in effect during the pay period and the corresponding number of hours worked at each
 6   hourly rate by the employee.
 7           55.     Plaintiff and putative class members did not receive accurate itemized wage
 8   statements, as required by law, in that the wage statements provided to them did not accurately
 9   reflect correct figures for gross wages earned, total hours worked, net wages earned, and/or all
10   applicable hourly rates in effect with the corresponding number of hours worked at each hourly
11   rate.
12           56.     As a result of Defendant’s failure to provide the accurate itemized wage
13   statements required by law, Plaintiff and putative class members have been injured in the manner
14   set forth in the Labor Code.
15           57.     Plaintiff and putative class members are entitled to the penalty set forth at Labor
16   Code section 226(e), to injunctive relief to ensure compliance with the law, to the civil penalty
17   set forth in Labor Code section 226.3, to the civil penalty set forth in the applicable Wage Order,
18   actual damages, costs of suit, and reasonable attorneys’ fees.
19                                      FIFTH CAUSE OF ACTION
20                             FAILURE TO PAY ALL EARNED WAGES
21                           UPON SEPARATION FROM EMPLOYMENT
22                                       (Labor Code §§ 200-203)
23           58.     Plaintiff repeats and realleges by reference the allegations set forth above, as
24   though set forth herein in full.
25           59.     Labor Code §§ 201 and 202 require that Defendant pays their employees all
26   wages due within 24 hours after a discharge or 72 hours after a resignation from employment, if
27   the employee has given less than 72 hours notice. Labor Code § 203 provides that if an employer
28   willfully fails to timely pay such wages the employer must, as a penalty, continue to pay the
                                                      12
                                    SECOND AMENDED COMPLAINT
      Case 2:16-cv-01802-SB Document 53 Filed 09/04/20 Page 13 of 22


 1   employee’s daily wage until the back wages are paid in full or an action is commenced. The
 2   penalty cannot exceed 30 days of wages.
 3          60.     Plaintiff was separated from Defendant’s employ in March and August of 2015.
 4 Plaintiff and Subclass members were not paid for all earned wages at the time of their separation

 5 from Defendant’s employ. Plaintiff alleges that Defendant’s custom, practice, and/or policy was

 6 not to pay for previously earned Reporting Time Wages or unrecorded time spent under

 7 Defendant’s control, at the time that final wages were paid.

 8          61.     More than 30 days have passed since Plaintiff and Subclass members terminated
 9 from their employment with Defendant. Defendant has not paid Plaintiff and each Subclass

10 member, whose employment has ended, all wages owed. As a consequence of Defendant’s

11 willful conduct in not paying Plaintiff and each Subclass member all earned wages at the time

12 their employment with Defendant ended, Plaintiff and each terminated Subclass member is

13 entitled to 30 days’ wages as a penalty under Labor Code § 203.

14                                       SIXTH CAUSE OF ACTION
15                                       FAILURE TO INDEMNIFY
16                                          (Labor Code § 2802)
17          62.     Plaintiff hereby incorporates by reference each and every one of the allegations
18   contained in the preceding paragraphs as if the same were fully set forth herein.
19          63.     Pursuant to Labor Code § 2802, an employer shall indemnify his or her employee
20   for all necessary expenditure or losses incurred by the employee in direct consequence of the
21   discharge of his or her duties.
22          64.     Defendant’s actions in requiring employees to expend monies in direct
23 consequence of the discharge of their duties – specifically, expenses necessarily incurred through

24 the use of personal cell phones pursuant to the Call-In policy – but failing to fully indemnify and

25 reimburse them for those expenses, are unlawful under the laws and regulations of the State of

26 California.

27          65.     In violation of California law, Defendant has knowingly and willfully refused to
28 perform their obligations to indemnify and reimburse Plaintiff and Class members. As a direct
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                                       SECOND AMENDED COMPLAINT
      Case 2:16-cv-01802-SB Document 53 Filed 09/04/20 Page 14 of 22


 1   result, Plaintiff and Class members have suffered, and continue to suffer, substantial losses
 2   related to the use and enjoyment of such moneys, lost interest on such moneys, and expenses and
 3   attorneys' fees in seeking to compel Defendant to fully perform their obligation under state law,
 4   all to their respective damage in amounts according to proof at time of trial.
 5           66.      Defendant’s conduct described herein violates Labor Code § 2802.             As a
 6   proximate result of the aforementioned violations, Plaintiff and Class members have been
 7   damaged in an amount according to proof at time of trial. Therefore, pursuant to Labor Code
 8   §§ 200, 203, and 2802, Plaintiff and Class members are entitled to recover the unpaid balance of
 9   expenditures Defendants owe to them, plus interest, penalties, attorneys' fees, expenses, and
10   costs of suit.
11                                      SEVENTH CAUSE OF ACTION
12                                UNLAWFUL BUSINESS PRACTICES
13                                  (Bus. & Prof. Code §§ 17200, et seq.)
14           67.      Plaintiff repeats and realleges by reference the allegations set forth above, as
15   though set forth herein in full.
16           68.      Section 17200 of the California Business and Professions Code prohibits any
17   unlawful business act or practice.
18           69.      Plaintiff brings this cause of action in a representative capacity on behalf of the
19   general public and the persons affected by the unlawful conduct described herein. Plaintiff and
20   putative class members have suffered and continue to suffer injury in fact and deprivation of
21   wages and monies as a result of Defendant’s actions.
22           70.      The actions of Defendant, as herein alleged, amount to conduct which is unlawful
23   and a violation of law. As such, said conduct constitutes unlawful business practices, in violation
24   of Bus. & Prof. Code §§ 17200, et seq.
25           71.      Defendant’s conduct as herein alleged has damaged Plaintiff and putative class
26   members by denying them wages due and payable, and by failing to provide proper wage
27   statements. Defendant’s actions are thus substantially injurious to Plaintiff and putative class
28   members, causing them injury in fact and loss of money.
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                                    SECOND AMENDED COMPLAINT
      Case 2:16-cv-01802-SB Document 53 Filed 09/04/20 Page 15 of 22


 1           72.     As a result of such conduct, Defendant has unlawfully obtained monies owed to
 2 Plaintiff and putative class members.

 3           73.     All members of the Class can be identified by reference to payroll and related
 4 records in the possession of the Defendant. The amount of wages due to Plaintiff and members

 5 of the Class can be readily determined from Defendant’s records and/or proper scientific and/or

 6 expert evidence. The members of the proposed class are entitled to restitution of monies due and

 7 obtained by Defendant during the Class Period as a result of Defendant’s unlawful conduct.

 8           74.     Defendant’s course of conduct, acts, and practices in violation of the California
 9 laws and regulations, as mentioned in each paragraph above, constitute distinct, separate and

10 independent violations of Sections 17200 et seq. of the Business and Professions Code.

11                                       EIGHTH CAUSE OF ACTION
12                                      UNFAIR BUSINESS PRACTICES
13                                  (Bus. & Prof. Code §§ 17200 et seq.)
14           75.     Plaintiff repeats and realleges by reference the allegations set forth above, as
15   though set forth herein in full.
16           76.     When Defendant schedules Plaintiff and the proposed Class members for future
17   shifts, they include Call-In shifts, as described above. Plaintiff has routinely been subjected to
18   the Call-In schedule.
19           77.     When Call-In scheduling and Show-Up scheduling are aggregated, employees
20 may be, for example, scheduled to work upwards of five days per week, even though they may

21 only be permitted to earn wages for one-to-two days per week. Employees have no way of

22 knowing whether they will in fact be permitted to work until immediately before the start of the

23 Call-In shift.

24           78.     Regardless of how many days employees are in fact permitted to work, employees
25 are required to mold their lives around the possibility that they will work four days a week. For

26 example, employees cannot schedule shifts with other jobs during those scheduled hours, even

27 though there is a substantial likelihood employees will not be permitted to work a Call-In shift.

28   Employees cannot plan to attend college courses, schedule doctor’s appointments, or make plans
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                                    SECOND AMENDED COMPLAINT
      Case 2:16-cv-01802-SB Document 53 Filed 09/04/20 Page 16 of 22


 1   with friends and family during those hours. Employees with children may have to arrange child
 2   care for those four days a week, even though they ultimately will not be permitted to earn wages.
 3   For employees who require government assistance, Defendant’s Call-In scheduling policy may
 4   make it exceedingly difficult, if not impossible, for employees to navigate eligibility
 5   requirements for government benefits such as health insurance, child care subsidies, food stamps
 6   and housing assistance.
 7          79.     In summary, as a result of Defendant's Call-In scheduling policy, employees
 8   suffer a global restriction of their personal autonomy and their ability to plan any personal
 9   pursuits for the time in which they are scheduled to work a Call-In shift. However, Defendant's
10   employees are not permitted to earn wages or otherwise compensated for the significant sacrifice
11   implicit in complying with Defendant's Call-In scheduling policy. Moreover, due to the
12   unpredictable nature of Defendant's Call-In policy, employees can never know if they will be
13   able to meet their budgetary needs.
14          80.     California's wage and hour laws reflect the strong public policy favoring
15   protection of workers' general welfare and society's interest in a stable job market. For all the
16   reasons discussed herein, Defendant's Call-In scheduling policy wholly undermines California's
17   long-standing interest in promoting workers’ general welfare. The restrictions placed on
18   employee personal autonomy, without compensation, have serious effects on the welfare of
19   Defendant's employees, as well as their families. Stated differently, and for all the reasons
20   discussed herein, Defendant's Call-In scheduling policy is immoral, unethical, oppressive,
21   unscrupulous and otherwise is substantially injurious to its employees.
22          81.     There is no utility to Defendant's Call-In scheduling policy. The purpose of the
23   Call-In scheduling policy is to maximize Defendant's profits at the expense of its employees'
24   welfare and a stable job market in the State of California. The gravity of harm to Defendant's
25   employees, on the other hand, for all the reasons discussed herein, is substantial. Thus, the
26   gravity of harm to Defendant's employees substantially outweighs any utility of the Call-In
27   scheduling policy. Stated differently, Defendant's Call-In scheduling policy negatively impacts
28   its employees in a manner that outweighs any reasons, justifications, and motives Defendant can
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                                  SECOND AMENDED COMPLAINT
      Case 2:16-cv-01802-SB Document 53 Filed 09/04/20 Page 17 of 22


 1   provide.
 2          82.    Section 5 of the Wage Order, providing for reporting time pay, is intended to
 3   guarantee compensation for employees who tailor their lives around a work schedule, but are not
 4   permitted to earn wages due to inadequate scheduling or lack of proper notice by the employer.
 5   Viewed from a remedial perspective, reporting time laws exist not only to compensate
 6   employees, but also are intended to shape employer conduct by encouraging proper scheduling
 7   practices.
 8          83.    In addition to promoting proper notice and scheduling practices, the underlying
 9   intent, policy, and purpose of Section 5 of the Wage Order, as stated by both the Industrial
10   Welfare Commission (the "IWC"), the organization responsible for setting the working
11   conditions of California employees, as well as the Division of Labor Standards Enforcement (the
12   "DLSE"), the organization responsible for enforcing California employment laws, is to
13   compensate employees when they are required to be available to work, make themselves
14   available to work, but are not afforded the opportunity to earn wages. Indeed, the DLSE has
15   specifically noted that an employee should be compensated with reporting time pay “for at least
16   a portion of the time [the employee] makes [herself] available to the proposed employer.”
17          84.    Defendant's Call-In scheduling policy globally undermines the purposes of
18   Section 5. Like the more familiar form of Show-Up scheduling, Defendant’s Call-In scheduling
19   policy requires employees to conform their lives around a mandatory work schedule. Employees
20   are scheduled to work, expect to work – indeed, employees are required to expect to work, or
21   face discipline – and report to work by calling in immediately before a shift begins. Frequently,
22   however, employees are not permitted to work a scheduled Call-In shift. When this occurs,
23   employees are never compensated for the sacrifices they must make in order to report for a
24   scheduled Call-In shift. This is the precise wrong sought to be remedied by Section 5: an
25   improper scheduling practice that fails to properly compensate employees who adapt their lives
26   around a work schedule.
27          85.    Defendant's Call-In scheduling policy is further unfair, and simultaneously,
28   undermines fair competition, by shifting the risks implicit in scheduling to its employees – all
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                                  SECOND AMENDED COMPLAINT
      Case 2:16-cv-01802-SB Document 53 Filed 09/04/20 Page 18 of 22


 1   while undermining the purposes of Section 5. Specifically, in a competitive marketplace, retail
 2   scheduling practices represent one of many components to maximizing profit. These scheduling
 3   practices represent a balancing act between the need to maximize sales, i.e., having optimal sales
 4   floor coverage with its employees, and the need to minimize employee overhead costs.
 5   Sometimes, retailers are overleveraged and realize greater than optimal employee overhead
 6   costs. Other times, retailers are underleveraged and cannot maximize sales.
 7          86.     Defendant's Call-In policy, however, harms fair competition by violating the spirit
 8   and purpose of reporting time laws and shifting the risks implicit in scheduling to the employee.
 9   Specifically, rather than risk greater than optimal employee overhead – something every retailer
10   must do when complying with the purpose of reporting time laws – Defendant's Call-In policy
11   allows them to require an employee report to work any time, but at no time would Defendant
12   have to furnish reporting time pay or provide the employee an opportunity to earn wages, despite
13   the fact that the employee was required to be available to work a scheduled Call-In shift. This
14   undermines fair competition because retailers who comply with the purposes of reporting time
15   laws – or as the DLSE has put it, those who compensate their employees "for at least a portion of
16   the time [the employee] makes [herself] available to the proposed employer" – cannot always
17 realize optimal employee overhead costs while simultaneously realizing optimal employee

18 presence to maximize sales. By undermining California's reporting time laws, Defendant

19 achieves this anti-competitive advantage. And the only way Defendants are able to enjoy this

20 anti-competitive circumstance is by passing both the risk and the burden of proper notice and

21 scheduling practices onto the employees, in direction contravention of the purpose of Section 5,

22 and at great expense to their employee's welfare.

23          87.     As such, Defendants' Call-In scheduling policy constitutes an "unfair" business
24 practice under the UCL.

25                                   NINTH CAUSE OF ACTION
26                                 CIVIL PENALTIES UNDER THE
27                CALIFORNIA PRIVATE ATTORNEYS GENERAL ACT (“PAGA”)
28                                    (Labor Code §§ 2698, et seq.)
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                                  SECOND AMENDED COMPLAINT
      Case 2:16-cv-01802-SB Document 53 Filed 09/04/20 Page 19 of 22


 1          88.       Plaintiff hereby incorporates by reference the preceding paragraphs of this
 2   complaint as though set forth in full at this point.
 3          89.       PAGA permits Plaintiff to recover civil penalties for the violation(s) of the Labor
 4   Code sections enumerated in Labor Code section 2699.5.
 5          90.       PAGA provides as follows: “[n]otwithstanding any other provision of law, a
 6   Plaintiff may as a matter of right amend an existing complaint to add a cause of action arising
 7   under this part at any time within 60 days of the time periods specified in this part.”
 8          91.       Defendant’s conduct, as alleged herein, violates numerous sections of the
 9 California Labor Code including, but not limited to, the following:

10           (a)      Violation of Labor Code sections 1194, 1197, and 1197.1 for Defendants’ failure
11          to compensate Plaintiff and all aggrieved employees with at least minimum wages for all
12          hours worked as alleged herein;
13           (b)      Violation of Labor Code section 226(a) for failure to provide accurate wage
14          statements to Plaintiff and other aggrieved employees as alleged herein;
15           (c)      Violation of Labor Code section 1174(d) for failing to maintain records as alleged
16          herein;
17          (d)       Violation of Labor Code sections 201, 202, and 203 for failure to pay all unpaid
18          wages upon termination as alleged herein; and
19          (e)       Violation of Labor Code section 204 for failure to pay all earned wages owed to
20          Plaintiff and other aggrieved employees during employment as alleged herein.
21          92.       California Labor Code section 1198 also makes it illegal to employ an employee
22 under conditions of labor that are prohibited by the applicable wage order. Discussed herein,

23 Defendant’s conduct violates Wage Order number 7, Section 5, requiring reporting time pay for

24 the Call-In Policy.

25          93.       California Labor Code section 204 requires that all wages earned by any person in
26 any employment between the 1st and the 15th days, inclusive, of any calendar month, other than

27 those wages due upon termination of an employee, are due and payable between the 16th and the

28 26th day of the month during which the labor was performed, and that all wages earned by any
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                                    SECOND AMENDED COMPLAINT
      Case 2:16-cv-01802-SB Document 53 Filed 09/04/20 Page 20 of 22


 1   person in any employment between the 16th and the last day, inclusive, of any calendar month,
 2   other than those wages due upon termination of an employee, are due and payable between the
 3   1st and the 10th day of the following month. California Labor Code section 204 also requires
 4   that all wages earned for labor in excess of the normal work period shall be paid no later than the
 5   payday for the next regular payroll period.
 6          94.     California Labor Code section 210 provides: “In addition to, and entirely
 7   independent and apart from, any other penalty provided in this article, every person who fails to
 8 pay the wages of each employee as provided in Sections 201.3, 204, 204b, 204.1, 204.2, 205,

 9 205.5, and 1197.5, shall be subject to a civil penalty as follows: (1) For any initial violation, one

10 hundred dollars ($100) for each failure to pay each employee. (2) For each subsequent violation,

11 or any willful or intentional violation, two hundred dollars ($200) for each failure to pay each

12   employee, plus 25 percent of the amount unlawfully withheld.”
13          95.     Labor Code section 558(a) provides “[a]ny employer or other person acting on
14   behalf of an employer who violates, or causes to be violated, a section of this chapter or any
15   provision regulating hours and days of work in any order of the Industrial Welfare Commission
16   shall be subject to a civil penalty as follows: (1) For any initial violation, fifty dollars ($50) for
17   each underpaid employee for each pay period for which the employee was underpaid in addition
18   to an amount sufficient to recover underpaid wages. (2) For each subsequent violation, one
19   hundred dollars ($100) for each underpaid employee for each pay period for which the employee
20   was underpaid in addition to an amount sufficient to recover underpaid wages. (3) Wages
21   recovered pursuant to this section shall be paid to the affected employee.” Labor code section
22   558(c) provides “[t]he civil penalties provided for in this section are in addition to any other civil
23   or criminal penalty provided by law.”
24          96.     Defendant, at all times relevant to this complaint, were employers or persons
25   acting on behalf of an employer(s) who violated Plaintiff’s and other aggrieved employees’
26   rights by violating various sections of the California Labor Code as set forth above.
27          97.     As set forth above, Defendant has violated numerous provisions of both the Labor
28   Code sections regulating hours and days of work as well as the applicable order of the IWC.
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                                   SECOND AMENDED COMPLAINT
      Case 2:16-cv-01802-SB Document 53 Filed 09/04/20 Page 21 of 22


 1   Accordingly, Plaintiff seeks the remedies set forth in Labor Code section 558 for herself, the
 2   State of California, and all other aggrieved employees.
 3          98.     Pursuant to PAGA, and in particular California Labor Code sections 2699(a),
 4   2699.3, 2699.5 and 558, Plaintiff, acting in the public interest as a private attorney general, seeks
 5   assessment and collection of unpaid wages and civil penalties for Plaintiff, all other aggrieved
 6   employees, and the State of California against Defendant, in addition to other remedies, for
 7   violations of California Labor Code sections 201, 202, 203, 204, 210, 221, 224, 226(a), 226.7,
 8   510, 512(a), 1174, 1194, 1197, 1197.1, 1198, 2800 and 2802.
 9          99.     Plaintiff claims herein all penalties permitted by the Private Attorneys General
10   Act of 2004 (PAGA), Labor Code § 2698, et seq., and has complied with the procedures for
11   bringing suit specified by Labor Code § 2699.3. By letter dated July 19, 2016, Plaintiff gave
12   written notice by certified mail to the Labor and Workforce Development Agency (“LWDA”),
13   and Defendants, of the specific provisions of the Labor Code alleged to have been violated,
14   including the facts and theories to support the alleged violations.
15                                       PRAYER FOR RELIEF
16          WHEREFORE, Plaintiff, on behalf of herself, and on behalf of the members of the Class,
17   prays for judgment against Defendant as follows:
18          A.      For an order certifying the proposed class;
19          B.      For the attorneys appearing on the above caption to be named class counsel and
20                  for the named Plaintiff to be appointed class representative;
21          C.      For compensatory damages in an amount according to proof with interest thereon;
22          D.      For economic and/or special damages in an amount according to proof with
23                  interest thereon;
24          E.      For payment of unpaid wages in accordance with California labor and
25                  employment law, including, where applicable, liquidated damages;
26          F.      For payment of penalties in accordance with California law;
27          G.      For reimbursement of all necessary business expenses advanced by Plaintiff and
28                  the class members, in an amount according to proof at the time of trial;
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                                   SECOND AMENDED COMPLAINT
      Case 2:16-cv-01802-SB Document 53 Filed 09/04/20 Page 22 of 22


 1           H.      For Defendants to be found to have engaged in unfair competition in violation of
 2                   Bus. & Prof. Code §§ 17200, et seq.;
 3           I.      For a permanent injunction against Defendants' Call-In scheduling practice;
 4           J.      For Defendants to be ordered and enjoined to make restitution to Plaintiff and the
 5                   Class and disgorgement of profits from their unlawful business practices and
 6                   accounting, pursuant to Business and Professions Code §§ 17203 and 17204;
 7           K.      For interests, attorneys’ fees and cost of suit under Labor Code §§ 226 and 1194
 8                   and Code of Civil Procedure §1021.5;
 9           L.      For all penalties permitted by California’s Private Attorney General’s Act
10                   (PAGA), Labor Code section 2698, et seq.
11           M.      For all such other and further relief that the court may deem just and proper.
12                                                 Respectfully Submitted,

13
     Dated: September 4, 2020                      MARLIN & SALTZMAN, LLP
14
                                                   By: s/ Cody R. Kennedy
15                                                       Stanley D. Saltzman, Esq.
                                                         Cody R. Kennedy, Esq.
16
                                                            Attorneys for Plaintiff
17                                                          and the Proposed Class
18

19

20                                            JURY DEMAND
21           Plaintiff, on behalf of herself and all others similarly situated, hereby does demand a trial
22   by jury in this case.
23

24   Dated: September 4, 2020                      MARLIN & SALTZMAN, LLP

25                                                 By: s/ Cody R. Kennedy
                                                         Stanley D. Saltzman, Esq.
26                                                       Cody R. Kennedy, Esq.
27                                                          Attorneys for Plaintiff
                                                            and the Proposed Class
28
                                                       22
                                   SECOND AMENDED COMPLAINT
